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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF IDAHO



Senobio PADILLA-ARREDONDO                                Civil No. _______________


                                  PLAINTIFF                            COMPLAINT

                      vs.                         Agency File. No.:     A206-236-806

KIERAN DONAHUE, SHERIFF OF
CANYON COUNTY; CANYON
COUNTY

in their official capacities,


                                DEFENDANTS




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                       I.     JURSIDICTION AND VENUE

1. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

   jurisdiction), § 1343, and Article III of the United States Constitution.

2. This Court has jurisdiction over the plaintiff’s Idaho state law claims pursuant

   to 28 U.S.C. § 1367 (supplemental jurisdiction) as they form part of the same

   case or controversy under Article III of the United States Constitution.

3. Venue is proper under 28 U.S.C. § 1391(b)(2) as a substantial part of the events

   or omissions giving rise to the claim occurred in this judicial district.

4. An actual controversy has arisen and now exists between the plaintiff and the

   defendants.

                       II.    PARTIES

5. The plaintiff is a resident of Idaho.

6. Defendant Canyon County is a political sub-division of the state of Idaho.

7. Defendant Kieran Donahue is the sheriff of Canyon County.

8. Defendant Donahue is sued in his official capacity.

                       III.   FACTUAL ALLEGATIONS

9. Defendants operate the Canyon County Jail in Canyon County, Idaho.

10. Defendants have custody and control of all persons confined in the Canyon

   County Jail and are responsible for the day-to-day operations of the Canyon

   County Jail.

11. On or about January 22, 2016, the plaintiff was booked into the Canyon County

   Jail based upon a probable cause arrest.

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12. On or about January 22, 2016, the plaintiff was charged with Driving Under the

   Influence (I.C. § 18-8004C) and the plaintiff was granted a $1,250 bond.

13. While the plaintiff was in the defendants’ custody, plaintiff inquired on more

   than one occasion about release upon payment of a bond.

14. While the plaintiff was in the defendants’ custody, the plaintiff’s spouse

   inquired on more than one occasion about the ability to pay the plaintiff’s bond

   at the Canyon County Jail.

15. On or about January 22, 2016, the plaintiff’s spouse called defendants to find

   out how she could pay the plaintiff’s bond and was provided general

   instructions, and the bond amount.

16. On or about January 22, 2016, when the plaintiff’s spouse arrived at the Canyon

   County Jail, she was told that she could not pay pre-trial bond.

17. On or about January 25, 2016, the plaintiff pleaded guilty to the charged offense

   and the court set a bond of $5,000, and a sentencing date of March 10, 2016.

18. The plaintiff again inquired of the defendants about his ability to be released

   upon the payment of a bond.

19. On or about January 25, 2016 the plaintiff’s spouse went to Canyon County Jail

   in an attempt to pay the bond and was dissuaded from doing so in a

   conversation with a bail bondsman who conveyed to her that Canyon County

   would not accept the bond.

20. On March 8, 2016, the plaintiff’s spouse again went to the Canyon County Jail

   in an attempt to pay his bond. Defendants again told her that she could not pay

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   the plaintiffs bond. After doing so, they told her to call Immigration and

   Customs Enforcement (ICE), an agency of the Department of Homeland

   Security (DHS), and gave her a telephone number.

21. When attempting to pay the plaintiff’s bond on March 8, 2016, the plaintiff’s

   wife also attempted to present a letter and other documents to the defendants

   related to the defendant’s detention authority over the plaintiff. The defendants

   refused to accept the letter and the other documents the plaintiff’s wife

   presented.

22. On March 8, 2016, after the plaintiff’s wife was unable to post the plaintiffs

   bond, the plaintiff tendered the documents that his wife unsuccessfully

   attempted to present to the defendants through counsel.

23. On or about March 10, 2016, the plaintiff resolved his criminal matter.

24. On or about March 10, 2016, Immigration and Customs Enforcement (ICE),

   lodged an immigration detainer (Form I-247D) relating to the plaintiff with the

   Canyon County Jail.

25. The immigration detainer indicated that ICE had determined that the [plaintiff]

   is an immigration enforcement priority because he has been convicted of a

   “significant misdemeanor” as defined under DHS policy and requested that the

   Canyon County Jail maintain custody of the plaintiff “for a period not to

   exceed 48 hours beyond the time when the [plaintiff] would have otherwise

   been released from your custody” to allow DHS to take custody of plaintiff.



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26. The immigration detainer indicated that there was no prior detainer related to

   the subject that was previously submitted to defendants.

27. The immigration detainer was dated March 10, 2016.

28. On March 10, 2016, ICE apprehended the plaintiff.

29. Defendants confined plaintiff from January 22, 2016 to March 10, 2016.

30. Defendants intended to confine the plaintiff and intentionally did so.

31. Plaintiff was aware of his confinement in the Canyon County Jail from January

   22, 2016 to March 10, 2016.

32. At all relevant times, defendants were aware that the plaintiff had been granted

   a bond.

33. During the course of his incarceration, the defendants did not provide plaintiff

   any opportunity to challenge his continued detention.

34. During the course of his incarceration, the defendants refused to permit the

   plaintiff’s spouse to post any bond.

35. During the course of his incarceration, the defendants refused to otherwise

   facilitate the plaintiff’s release from custody at any time before March 10, 2016.

36. At all times relevant to this complaint, defendants were aware of the unlawful

   nature of restraining the plaintiff’s liberty.

37. The ICE agency of DHS is only allowed to issue detainers, (Form I-247), in

   accordance with the authority granted to them pursuant to the Immigration

   and Nationality Act (INA).



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38. Neither ICE nor any of its subdivisions issued a Notice to Appear (NTA),

   administrative warrant for arrest (form I-200), or any other charging document

   in conjunction with the detainer (Form I-247).

39. The defendants did not ensure that ICE made an individualized finding of the

   plaintiff’s flight risk before a neutral, detached judicial officer at any time.

40. The defendants did not ensure that ICE secured a judicial determination of

   probable cause authorizing the plaintiff’s arrest and detention at any time.

41. The defendants did not ensure that ICE or any immigration agency provided

   the plaintiff with the opportunity to contest any request that defendants detain

   the plaintiff while plaintiff was an inmate at the Canyon County Jail.

42. The defendants did not provide the plaintiff the opportunity to contest the

   defendants’ decision to continue his detention without allowing him to post

   any bond.

43. The plaintiff had then and does not have now, any means to challenge the

   validity of defendants’ decision to continue his detention without allowing him

   to post any bond.

44. Based upon information and belief, the defendants have a policy, practice, or

   custom of detaining inmates solely due to a suspicion of the inmate’s

   immigration status.

45. Defendants have a policy, practice, or custom of detaining inmates solely due

   to the request of an immigration official or agency to hold an individual

   beyond the period when the inmate would otherwise be released.

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46. Defendants have a policy, practice, or custom of detaining inmates solely due

   to a detainer issued by DHS.

47. Because of each of the defendants’ acts complained of herein, the plaintiff has

   suffered loss of liberty, loss of enjoyment of life, humiliation, mental suffering,

   emotional distress, stress, and other harm in an amount to be determined at the

   time of trial.

                      IV.    CLAIMS FOR RELIEF


           Fourteenth Amendment (Due Process): 42 U.S.C. § 1983
48. Plaintiff re-alleges and incorporates by reference each of the preceding
   paragraphs.
49. Without any basis in state or federal law, defendants denied the plaintiff the

   opportunity to be released by posting bail, thus depriving him of his liberty

   without due process of law.

             Fourth Amendment (Unlawful Seizure): 42 U.S.C. § 1983

50. Plaintiff re-alleges and incorporates by reference each of the preceding

   paragraphs.

51. Defendants continued to detain the plaintiff without any basis in law by

   refusing to allow him, or his wife, to post his bond.

52. Defendants continued to detain the plaintiff without any basis in state law by

   dissuading his wife from paying his bond, depriving him of his liberty.




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    53. There is no lawful order or process underlying the defendant’s decision to

        arrest and continue to detain the plaintiff after he would have otherwise been

        released.

                         False Arrest & Imprisonment (Idaho law)

    54. Plaintiff re-alleges and incorporates by reference each of the preceding

        paragraphs.

    55. By the exercise of force, express or implied, defendants imprisoned the plaintiff

        without legal authority and in violation of Idaho law by detaining him after he

        would have otherwise been released, and otherwise creating conditions that

        would not permit him to be released.

    56. By the exercise of force, express or implied, defendants intentionally arrested

        the plaintiff without legal authority by detaining him after he would have

        otherwise been released, and otherwise creating conditions that would not

        permit him to be released.

    57. Defendants acts of arresting and imprisoning the plaintiff beyond the time

        when he would otherwise be released were taken against his will and without

        his consent.

                           V.     PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that this Court:

    58. On his first claim, grant him compensatory damages in an amount to be

        determined at the time of trial.




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     59. On his second claim, grant him compensatory damages in an amount to be

        determined at the time of trial;

     60. On his third claim, grant him his non-economic losses in an amount to be

        determined at the time of trial;

     61. As to all claims grant him any other damages as authorized by law in an

        amount to be determined at the time of trial.

     62. As to all claims grant him his cost and attorneys’ fees pursuant to 42 U.S.C. §

        1988; and

     63. Grant him such other relief as this Court deems just and proper.

Dated this 19th day of January 2018

                                           ____/S/Maria E. Andrade__________
                                           Maria E. Andrade
                                           Andrade Legal
                                           Of Attorneys for Plaintiffs




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 19th of January 2018, the foregoing

COMPLAINT FOR DAMAGES was electronically filed with the Clerk of the Court

using the CM/ECF system which sent a Notice of Electronic Filing to the following

person(s):




                                            __/S/Maria E. Andrade________________
                                             Maria E. Andrade




                                                                     COMPLAINT 10
